                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 3:14-cr-00090-9
                                                    )      Judge Trauger
WILTON BAILEY                                       )


                                           ORDER

       The Motion to Withdraw as Counsel, to Continue the Sentencing Hearing, and Extend

Related Deadlines, and to Appoint New Counsel (Docket No. 1421) is GRANTED. Defense

counsel is hereby allowed to WITHDRAW from representation of this defendant and the Federal

Public Defender is requested to appoint new counsel for this defendant.

       It is further ORDERED that the sentencing scheduled for March 20, 2017 is RESET for

May 25, 2017 at 3:30 p.m.

       It is so ORDERED.

       ENTER this 15th day of March 2017.




                                                    ________________________________
                                                    ALETA A. TRAUGER
                                                    U.S. District Judge




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